This proceeding brings up for review by certiorari an award to plaintiff of compensation for an attack of typhoid fever, contraction of which was held by the commission of the department of labor and industry to have been an industrial accident which *Page 92 
he suffered while in the employ of an independent contractor engaged in executing a contract to raise and straighten up a building for defendant. The infection is claimed to have been caused from drinking water from a pipe emptying into a horse-trough in a barn of defendant about 150 paces from where plaintiff worked, which he himself found and told those working with him of, and from which they drank for some time.
It is a companion case with and the essential facts are substantially the same as in Ames v. Lumber Company, ante, 83, handed down herewith, by which it is controlled.
This case is therefore reversed and the award set aside.
CLARK, C.J., and McDONALD, BIRD, SHARPE, MOORE, FELLOWS, and WIEST, JJ., concurred.